

Matter of Walter Q. v Stephanie R. (2025 NY Slip Op 01990)





Matter of Walter Q. v Stephanie R.


2025 NY Slip Op 01990


Decided on April 3, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 3, 2025

CV-24-0066
[*1]In the Matter of Walter Q., Appellant,
vStephanie R., Respondent. (Proceeding No. 1.)
In the Matter of Stephanie R., Petitioner,
vWalter Q., Appellant. (Proceeding No. 2.) (And Other Related Proceedings.)

Calendar Date:February 13, 2025

Before:Egan Jr., J.P., Clark, Lynch, Powers and Mackey, JJ.

John A. Cirando, Syracuse, for appellant, and appellant pro se.
Andrea J. Mooney, Ithaca, attorney for the child.



Egan Jr., J.P.
Appeal from an order of the Supreme Court (John Rowley, J.), entered December 19, 2023 in Tompkins County, which, in proceeding No. 2 pursuant to Family Ct Act article 6, denied respondent's motion to, among other things, remove the attorney for the child.
Walter Q. (hereinafter the father) and Stephanie R. (hereinafter the mother) are the parents of the subject child (born in 2014), and they have been embroiled in ongoing legal disputes (see generally Matter of Walter Q. v Stephanie R., 234 AD3d 1060, 1060-1062 [3d Dept 2025]). The father now appeals from an order in which Supreme Court denied his application to, among other things, remove the attorney for the child assigned in the present custody proceeding. As we recently noted, "[s]ubject to a limited exception not applicable here, an appeal in a Family Ct Act proceeding may be taken as of right only from an order of disposition" (id. at 1062; see Family Ct Act § 1112 [a]). The order at issue is not dispositional and, after reviewing the circumstances of this matter and the arguments advanced by the parties in their briefs, we "decline to exercise our discretion to treat the notice of appeal as an application for permission to appeal" (Matter of Walter Q. v Stephanie R., 234 AD3d at 1062). The appeal is dismissed.
Clark, Lynch, Powers and Mackey, JJ., concur.
ORDERED that the appeal is dismissed, without costs.








